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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES—GENERAL

  Case No.       EDCV 19-1103-MWF-KK                                   Date: May 6, 2020
  Title: Friends of Riverside Airport, LLC v. Department of the Army, et al.



  Present: The Honorable KENLY KIYA KATO, UNITED STATES MAGISTRATE JUDGE


                DEB TAYLOR                                              Not Reported
                  Deputy Clerk                                          Court Reporter


       Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                  None Present                                           None Present

  Proceedings:      (In Chambers) Order Granting in Part Plaintiff’s Motion to Compel
                    Production of Documents [Dkt. 85]


         On April 8, 2020, Plaintiff Friends of Riverside Airport, LLC (“Plaintiff”) filed a Motion to
 Compel defendant Rohr, Inc. (“Rohr”) to produce documents, dkt. 85, with a joint stipulation
 pursuant to Local Rule 37-2, dkt. 86, and a declaration from Plaintiff’s counsel in support of the
 Motion, dkt. 87. Plaintiff seeks to compel Rohr to produce documents responsive to Plaintff’s
 Request for Production, Set One, served on November 12, 2019. Dkt. 87, Declaration of Peter Ton
 (“Ton Decl.”), ¶ 3. As of the date of the Motion, Rohr had not yet produced any documents. Id., ¶
 4. In addition, Plaintiff seeks its attorneys’ fees incurred in preparing the Motion to Compel. Dkt.
 86 at 13-14.

          Rohr does not dispute that it has responsive documents, but argues, without evidence, that
 responding is complicated because (1) the requests seek documents spanning “six or seven decades”;
 (2) changes in Rohr’s ownership make it difficult to find pre-2012 documents; (3) documents are not
 centrally located and “Rohr continues to diligently search and investigate multiple locations and
 sources where responsive documents might be stored”; and (4) COVID-19 makes obtaining
 documents from the client slower, because even though Rohr’s manufacturing facilities are essential
 functions, “the response to the virus has required new procedures to keep workers safe that have
 resulted in delayed responses from employees searching for documents.” Dkt. 86. Rohr also argues
 it is withholding some documents on the grounds that documents related to a 2005 Common
 Interest Agreement between Rohr and City of Riverside are protected and privileged. Id.

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          On April 16, 2020, Plaintiff filed a supplemental brief. Dkt. 91. On April 17, 2020, Rohr
 filed a supplemental brief. Dkt. 92.

         On April 30, 2020, Rohr filed a Declaration of Patrick J. Foley (“Foley Decl.”) stating (a) on
 April 22, 2020, Rohr served a privilege log; (b) on April 27, 2020 Rohr produced 67,520 pages of
 documents and submitted a proposed stipulated protective order to the parties in order to produce
 additional documents; and (c) Rohr “continues to search for and review potentially responsive
 documents for production in response to Plaintiff’s Request for Production of Documents, Set
 One.” Dkt. 96. On May 4, 2020, Plaintiff filed a Supplemental Declaration of Peter Ton (“Ton
 Suppl. Decl.”) arguing Plaintiff’s Motion to Compel is not moot. Dkt. 97.

          Having considered the parties’ briefing, evidence, arguments, and authorities cited in support
 of their positions, Plaintiff’s Motion to Compel is GRANTED IN PART. On or before May 26,
 2020, Rohr shall complete its production of documents in response to Plaintiff’s Request for
 Production of Documents, Set One. The Court, however, declines to rule on any privilege issues at
 this time because Plaintiff has not set forth the specific relevance of the documents it seeks and
 Rohr’s objections to production, if any, were not properly presented to the Court by Plaintiff.

         Plaintiff’s request for attorney’s fees is DENIED without prejudice to Plaintiff requesting
 attorney’s fees in the event Rohr fails to comply with the May 26, 2020 deadline set forth in this
 order.

         IT IS SO ORDERED.




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